    Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 1 of 66 PageID #:36

     ALJ CASE #: 2019CFP00001                                OSHA lD:5-0460-18-1
                                                                                                     r\*o
                        ln the United States Federal Court for the
                                     Dept. of Labor
                            Administrative Law Judge Division

                                            )           OSHA lD: 5-0460-18-
                                            )
Kenneth W. DelSignore                        )           Docket #: XXXX
Plaintiff                                    )
and possible other                           )
parties unknown                             )
                                            )
V                                           )             Hearing Requested
                                            )
Nokia                                       )
Lucent Government Services                   )
                                            )
                                            )




    Now and here comes before this court a matter of potentially great civic importance, Plaintiff

Dr. Kenneth Del Signore, for himself and also for other possible persons affected similarly,

brings   the charges described herein against the above named defendants and any other

conspirators yet unknown.


Contents:
                     paragraph:
                        1                         introduction
                        13                       jurisdiction
                        23                       parties
                        30                       allegations overview
                        35A                      detailed notes of allegations
                        132                      counts
                        133                      requested relief
                        134                      exhibits
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 2 of 66 PageID #:37


     ALJ CASE #: 2019CFP00001                                OSHA lD: 5-0460-18-125




lntroduction




1:   This matter concems the Universal Service Fund, specifically one of the USF's four

sub-programs known as the "high cost program"l. The high cost program is a $4 billion doltar

per year federal telecom subsidy that was started in 2003 and is paid for by fees that are added

to US consumer phone bills ( cunently     - $1.50 / month / phone).     The public has been told that

this tax is to fund the "expansion and maintenance" of cellular data and phone service in rural

areas. There have been several major legislative changes to the USF over the program's

sixteen year lifetime, however despite these changes, a relatively fixed set of 1900 entities (in

all 50 states and US tenitories) has consistently received the USF high cost program subsidy

since it was started in 2003    .




2: This complaint will detail   evidence of fraud in the USF high cost program and will show that

managers at Nokia and Lucent Government Services, in a nearly successful attempt to conceal

this fraud, harassed the plaintiff in a secretive and egregious manner between 2010 and 20'18,

first because the plaintiff, on several occasions, had uncovered adverse effects in the system

performance of the US 3G networks and had attempted to remediate these effects using

system settings that controlled the rate of cellular phone handoffs; and then subsequently

because of the plaintiffs commercial research work on 4G crowdsourced wireless network

monitoring systems.




I https://www.fcc.gov/general/universal-service-hioh-cost-areas-connect-america-fund
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 3 of 66 PageID #:38

   ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


3: The USF high cost program was started in 2003, before 3G phones had become ubiquitous.

It appears that there have been several major legislative changes to the program since then,

possibly to update it to the 3G, and then 4G systems. There are 1900 entities (small telcos)

that receive this USF funding and are required to annually report billable revenue to the FCC

based on the amount of service they provided to consumers in their area of operations. As

cellular technology has evolved from 1X -> 3G -> 4G, the service counts have transitioned to

each new system, consequently, it appears that the USF may have been modified to account for

the changes in technology.



3a: A plot of money versus time for the subprograms of the USF high cost program helps to

highlight the different phases of the program. Large changes to the USF sub-programs are visible

in 2012,2016, and Jan 2017 by the vertical edges in the sub program funding levels.


 Universal Service Fund doilars per monlh

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    Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 4 of 66 PageID #:39


      ALJ CASE #: 2019CFP00001                             OSHA lD: 5-0460-18-125




4    The legislative changes to the USF and the various FCC orders that are used to enact and

describe them are difficult to understand due to the use of a complex industry vernacular that

has evolved around this subsidy system. As a result, the plaintiffs understanding of the

technical details of the implementation of the USF subsidy (and the relation to the harassment)

has evolved over the course of this matter, and is continuing to do   so; as a result there may be

inaccurate assumptions made in the following.




5:   lt should be noted that the plaintiff, in 2018, had worked as an expert in wireless network

performance for 19 years and had no idea that this subsidy system existed, nor did (l think)

every other long term colleague I had with the company, save for possibly one.



6: The cunent fraud in the USF high cost program appears to be in the reporting of 4G service

counts to the FCC in two specific sub programs. These two programs are known as the

"Connect America Cost Model" and the "Alternative Connect America Model". These programs

where enacted into law around 2014; President Obama enabled the cacm sub-program by

executive order in the summer of 2015 and Ajit Pai turned on the acam sub-program on his first

week as FCC chair in Jan 2017. The cacm small telcos typically offer service in urban areas

and the acam small telcos typically offer service in rural areas. The turning on of both programs

resulted in sizeable increases in subsidy payments to the participating entities as seen in plot in

paragraph 3a.
  Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 5 of 66 PageID #:40

      ALJ CASE #: 2019CFP00001                                   OSHA lD: 5-0460-18-125




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6.1 Diagram of the USF high cost program. The FCC uses the reported revenues from the

small telcos to make an annual report to congress that is used to justify the continued existence

of the USF high cost program.




64:      ln the 4G network, it appears that the cacm and acam sub-programs use different

mechanisms to generate the required service counts on the equipment of the small telcos;

which is often simply being rented from a large telco.



68:   The first method appears to be used by the cacm program entities. These entities tend to

be the largest monetary recipients in each the state, as shown in paragraph 8b, and typically

have coverage of one or more major     cities.   lt appears that on sections of major highways, that

subscribers of AT&T and T-Mobile (large telcos) are made to handoff to the network of a small

teleco for a short section of highway, and then made to handoff back into the large telco's
    Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 6 of 66 PageID #:41


     ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


network. This would have the effect of inflating the service counts of the small telco. The small

telco then uses these counts in its annual FCC 499 form (which only requires network wide

aggregated total counts from the small telco) and subsequently receives USF subsidies based

on these inflated service counts..




6D: A second mechanism for padding the service counts of the small telcos appears to be used

by Verizon (large telco) in collusion with the small ruraltelcos in each state that receive acam

funding. These entities tend to be more numerous but with each having a lower funding level. lt

appears that spectrum auction boundaries are subject to a gerrymandering effect at the FCC2,

whereby small populated areas in USF eligible census blocks are made into an isolated

spectrum auction area, which allows Verizon to leave the populated area uncovered and a small

telco to provide more desirable service than Verizon in the auction block, presumably to achieve

the desired number of service counts for the small   telco.   There are several media outlets that

specialize in covering the USF program. These media outlets have developed a specialized

vemacular. The phrase "Verizon declined to participate in a spectrum auction", appears

intermittently in articles from these media outlets and appears to mean that the subsidy for one

of these small gerrymandered auction blocks has been given to a small telco by Verizon.




68 The effects   of these two mechanisms are visible in a geographic heatmap of average signal

strength, as shown below. This heatmap was made using a crowdsourced method in which a

smartphone application is installed on a large number of smartphones and then these installed


2
 Erin Fitzgerald, RWA council, congressional testimony, 3/18. She first states the the rural
carriers are essential for covering large rural areas, then later claims that they need very small
geographic auction regions which contradicts her earlier statement.
https://www.womblebonddickinson.com/sites/defaulUfiles/2018-03/Erin%20Fitzgerald%20RWA
%2OTestimony.pdf
  Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 7 of 66 PageID #:42

   ALJ CASE #: 2019CFP00001                              OSHA lD: 5-0460-18-125


applications all make periodic measurements of GPS and signal strength and report this data

back to a centralized    server. The heatmap of all aggregated measurement points then shows

the locations of cities and towns and the major highways and roads in between them.




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7 ln the heatmap above, which shows measurements from the Verizon network, the plaintiff first

noted that there is anomalously poor signal strength in the town of Keyes, OK. (follow the road

indicated by arrow on left edge of image; Keyes is first town east of Boise City in the OK

panhandle), which is highly unusual for Verizon based on the plaintiffs years of experience

working with Verizon system engineers and architects during the 3G EVDO      era.   The town of

Keyes OK can also be seen to be in an USF eligible subsidy area on the FCC Mobility Fund-ll

Eligible Areas map below:
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 8 of 66 PageID #:43


   ALJ CASE #: 2O19CFPOOOO1                                                                      OSHA lD:5-0460-18-125


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                   igible Areas Map


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8: An example   of a highway gap is shown on the four heatmap images below, in the section of

highway labeled ua", which is the highway between Boise City OK and Lamar Kansas (as

labeled above also). On this highway, it can be seen that AT&T and T-mobile have a gap in

their coverage and that the small telco Viero is covering the gap; also from the FCC map above,

the gap spans a USF eligible area boundary.
  Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 9 of 66 PageID #:44

    ALJ CASE #: 2019CFP00001                                OSHA lD: 5-0460-18-125




8a: A second example of a gap is shown below. iWireless in lowa receives $2.4M / month

from the cacm sub program and has an AT&T gap setup between Dubuque and Davenport.

The gap is also served by three other large telcos. This area is MF-ll eligible as shown in

exhibit J, which also contains several more examples of such      gaps. The    gaps can be found by

zooming the heatmap tool out to -200 mile display area and selecting the AT&T network. The

gaps can be picked out and zoomed in on, at which point, the toolwill display any small telcos

that have sufficient service counts in the display area. ln this manner it is fairly easy to find

AT&T gaps with an associated small telco and these then have mostly all been in MF-ll eligible

areas.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 10 of 66 PageID #:45


   ALJ CASE #: 2019CFP00001                                OSHA lD: 5-0460-18-125


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8b A sorted list of USF monthly cacm or acam payments to entities in lowa that receive these

subsidies is shown   below.   Each state is typical of below, whereby the largest recipients are in

the cacm program, followed by a long tail of smaller recipients in the acam program. The data

in this list was compiled from a data file published by the Universal Services Administration

Corporation, which is the entity that administers the USF program. The full list of states is given

in exhibit K with the details of an analysis of the USAC data file.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 11 of 66 PageID #:46

    ALJ CASE #: 2019CFP00001                                         OSHA lD: 5-0460-18-125


  IA              cActl ITS   - IOHA TELECOT{                                             2389380
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  IA              ACAII COOT{ VALLEY COOP     TEL                                           66591
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  IA              ACA'{ LA }IOTTE TEL CO                                                    64394
  IA              ACAI'I l,lABEL COOP TEL-IA                                                63005
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  IA              ACA''I BREDA TEL CORP.                                                    56722
  IA              ACAIII CET{TRAL SCOTT TEL CO                                              50864
  IA              ACA'4 SAC COUI{TY }IIJTUAL                                                496L2
  IA              ACAI{ TITOT{KA TEL CO                                                     49153
  IA              ACATiI EAST BUCHAI{AI{ COOP                                               48755
  IA              ACA'{ PEOPLES TEL CO - IA                                                 40822
  IA              ACA''I TIECHAT{ICSVILLE TEL                                               39293
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  IA              ACAI,I FAR}IERs iI'TUAL JESUP                                             36777
  IA              ACAI4 DA}IVILLE HUTUAL TEL                                                36895
  IA              ACAI'I FARHERS TEL CO-ESSEX                                               35188
  IA              ACAI.I T{ORTH ENGLISH (OOP                                                34878
  IA              ACA'1 CUHBERLAIID TEL CO                                                  34147
  IA              ACAI'I l,lASSEIrlA TEL CO                                                 33168
  IA              ACAI,I I{YOiIING I'UTUAL TEL                                              31213
  IA              ACA}I I,IUTUAL TEL CO                                                     29153
  IA              ACAIII COOI{ CREEK TEL CO                                                 27430
  IA              ACAI4 CASEY I.IUTUAL TEL CO                                               27427
  IA              ACAI! ROCKTELL COOP A55t{                                                 26492
  IA              ACA'I TEIIPLETO?I TEL CO                                                  2573A
  IA              ACAI,I ORAN iIUTUAL TEL CO                                                24890
  IA              ACAI,I TERRIL TEL. COOP.                                                  23182
  IA              ATA'4 OHSLOW COOP TEL ASSI{                                               20476




8C This then suggests that the basis of these two USF sub programs is political in nature. The

election year funding levels of each of these programs (shown below) is also suggestive of a

politicalfunction. The cacm program began disbursing payments in June 2015 and two months

later made a one time disbursement $460M, which was a prorated payment to all program

participants back through April 1st.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 12 of 66 PageID #:47


   ALJ CASE #: 2019CFP00001                                                OSHA lD:5-0460-18-125




   USF   paym*ts      201   $2018 for the ACAM/rural and CACM/urbm moddg
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8D    Following the $460M payment, there are then two one time election year payments

(above baseline) from each program: $40M in Aprit 2016 to the urban/cacm telcos and $50M in

July 2018 to the rural/acam telcos. The $50M acam value is calculated as a $2.9M / month

increase, prorated back to Jan             2017. Additionally the FCC         in Aug of 2017 cut the cacm

program by $3.8M / month.




10:   There has been an ongoing lega! challenge in an FCC courUjurisdiction for approximately

a year that is   in   regard to a planned redistribution of USF funds. This matter is brought by a

coalition of 34 small telcos (RWA telcos) that are in the acam program and appears to be

against a combination of           the large telcos and the FCC. Senator(s) from rural           stiates appear

also to be in support of the RWA             telcos.     From ongoing media reports (exhibit J), it appearc
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 13 of 66 PageID #:48

    ALJ CASE #:. 2019CFP00001                                OSHA lD:5-0460-18-125


that the large telcos are attempting to redistribute some of the acam funds to themselves from

some of the small acam    telcos. These media reports, combined with interactions with Nokia

council, allowed the plaintiff   to   understand the causes of the harassment as described herein.




Jurisdiction




13 The plaintiff filed an OSHA SOX harassment claim on Oct 10th, 2018. On this date, the

OSHA inspector, Shawn Hanington, advised the plaintiff that the matter needed subpoena

power and needed to be forwarded to an ALJ, and that the quickest way to achieve this was for

him to deny the complaint on that day and then after 28 days, on Nov 7th, the plaintiff could

request a hearing before an      ALJ. I called Shawn on Nov 7th and he initiated this process by

sending me a letter dated that day with instructions on how to file a notice of contest, which   I


followed, and has led to this complaint.




14 This complaint will claim standing under Sarbanes Oxley, Dodd Frank, and lllinois state

whistleblower laws.

14a   Standing under SOX is due to the fact that there appear to be many public corporations

that could be exposed to fines, class action, and/or false claims lawsuits, which exposes their

shareholders to considerable possible losses as a result of this ongoing matter.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 14 of 66 PageID #:49


    ALJ CASE #: 2019CFP00001                                 OSHA lD: 5-0460-18-125


14b: Standing under D/F is argued due to the fact that defendants acted in collusion with and

in the interest   of the large   and small telcos and are thus subject to D/F because the telcos

collect the USF fee on US consumer phone          bills. Section   15.A.4 of D/F defines 'Tinancial

products or services" as:

  "engaging in deposit taking activities, transmitting or exchanging funds, or othenrise acting as

   a custodian of funds or any financial instrument for use by or on the behalf of a consumer.'




15 The large and smalltelcos meet this definition because they collect the public tax money

from the USF fee on phone bills and this is done (supposedly) on behalf of consumers.

This complaint then argues that Nokia is subject to jurisdiction under D/F sec 15.A.4 because

they are colluding in a superordinate/subordinate scheme with the large telcos.




16 Additional standing under SOX:

The Shannon project, as described in the allegations below, was conservatively estimated to

have produced a profit of two million dollars per year for Nokia and its shareholders. When

managers at Nokia colluded with other superordinate telecom companies to delay and then kill

the Shannon project, they commited a fraud against Nokia shareholders. The purpose of

Nokia's US corporate charter is to create value for its shareholders, not to secretly deny value to

its shareholders in furtherance of some larger illicit scheme (even if that scheme is 16+ years

old and has been distributing billions of dollars per year to entities in all 50 states + tenitories

with very few questions asked and also seems to be an open secret among elected

representatives).
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 15 of 66 PageID #:50

   ALJ CASE #: 2019CFP00001                              OSHA lD: 5-0460-18-125




17 The same argument can be made forthe Bell Labs project in 2013 (also described below).

lf this project had become a commercial product in 2013, it could have strongly competed for

the -$SOM/year revenue that the large telcos have spent on 3rd party measurements annually

since then. This cost is ultimately bome by consumers. The canceling of the BL project in 2013

thus represents an earlier fraud committed against the shareholders of Alcatel-Lucent (which

has since been acquired by Nokia).




18   There are several other possible SOX and/or Dodd FTanUSEC violations in connection

with this matter: ln Verizon's annual SEC filings, they have consistently refened to RootMetrics

nationwide drive testing results to make the claim that they have the best network in the   US. lf

any other commercial system were allowed to come to market, this would provide an immediate

cross check of the Rootmetrics national results and may find enors in their measurement, which

could have an immediate adverse effect on Verizon shareholders, which they most surely would

consider fraudulent.

       -l would be very surprised if Verizon did not test extremely well relative, however there is

       a pernicious effect in telecom where the systems are tuned in a way that increases

       systemwide KPls, but that causes users with poor RF (<1 bar) to receive decreased

       service attempts based on their elevated failure rates; a higher system KPI is achieved,

       however with a real decrease in service quality to the users with (< 1 bar). The Shannon

       system described herein would have allowed for detailed examination and comparison of

       this "edge cell" treatment by each large telco.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 16 of 66 PageID #:51


     ALJ CASE #: 2019CFP00001                              OSHA lD: 5-0460-18-125


18a A claim    of fraud could also be made by Sprint shareholders against Alcatel-LucenUNokia

for the delayed and canceled work that was part of the Sprint Network Vision project (described

below). Sprint heavily promoted the SNV project to shareholders and contracted with ALU to

find and implement any improvements possible in Sprint's existing 3G network (which still

provides -50o/o of service coverage to Sprint customers).




19 This complaint will also claim standing under lllinois statute 740lll. Comp. Stat. 174115:

which explicitly provides for a relaxed burden of proof, ie the employee must only have a

"reasonable cause to believe that the information discloses a violation of a federal law, rule, or

regulation".

         (74O rLCS 474/45)
         Sec. 15. Retaliation for certain disclosures prohibited.
          (a) An employer may not retaliate agalnst an employee who
     discloses i-nformation in a court, an admi.nistrative hearing. or
     before a legislative commission or committee. or in any other
     proceeding. xhere the employee has reasonable cause to believe
     that the information di.scloses a vj-olation of a State or federal
     IaH, ru1e, or regulation.
          (b) An employer may not reta]-iate against an employee for
     dlscloslng informatisn to a government or law enforcement
     agency, nhere the employee has reasonabLe cause to believe that
     the information discloses a vlolation of a State or federal law,
     rule, or regulati.on.
     (Source: P.A. 95-128, eff. 1-1-08.)




20   The second ethics complaint in Sept. indicated that I would report this information to federal

regulatory agencies if Nokia did not do so voluntarily, which I subsequently   did.   Therefore this

complaint can claim standing under the lllinois statute for all events that happened after

paragraph 127.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 17 of 66 PageID #:52

   ALJ CASE #: 2019CFP00001                              OSHA lD:5-0460-18-125




21 This complaint can further claim standing under lllinois and Federal statute for all events

prior to paragraph 127 by making the argument that the harassment was intended to prevent

the plaintiff from affecting the fraudulent mechanism during the 3G era, and then in the 4G era,

the harassment was to prevent the plaintiff from discovering the fraud with the Shannon project
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 18 of 66 PageID #:53


     ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


Parties




23   --   Ken Del Signore, a computer scientist who came to the Naperville campus of Lucent in

the late 1990's as part of a class of approximately 50 high energy physicists (post docs) from

the nearby Fermi NationalAccelerator Laboratory. ln the early 2000's,      I   pioneered analysis

methods using C/C++ code to analyze large telecom data sets; the term now known as "big

data" refers to similar such methods of analysis. These methods allowed me to make many

unique contributions to the Lucent CDMA and EVDO switching systems between 2004 and

2013, several   of which   I list below:




24 ln 2004,1 co-invented and then co-designed (with Dave       Rossetti) the functionality known in

the 1X telecom industry as Adaptive Paging. This is a software function that has been used in

the Verizon and AT&T CDMA voice systems from 2006 to present (although since 2016, 1X

voice has been largely transitioned to the 4G system as "VoLTE"). The main purpose of

adaptive paging was to reduce the overhead power transmitted due to paging messages by

approximately 7% on the CDMA 1X fonlrard link (tower to phone), which improved voice quality

in urban areas and lowered cost of service. Another benefit was during call      setup; when

adaptive paging was first deployed widely in 2006, it was estimated that it saved 5 seconds of

call setup time on 2 million voice calls per day in the Verizon network by increasing the first

page response rate and eliminating the need for a second page message.




25    Between 2008 and 2011, I mitigated, what could have been, several hundreds of millions

of dollars of potential liquidated damages claims against the ALU 3G switching system by first

identifying and then fixing a major capacity problem in an early hardware version of the system.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 19 of 66 PageID #:54

   ALJ CASE #: 2019CFP00001                                  OSHA lD:5-0460-18-125


As late as 2007, the US 3G national network was deployed and was operational, but was only

barely being utilized, and was jokingly referred to internally as "the world's best phone

registration system" because most new phones were now 3G data capable, but all they would

do is register for data service and then ping every two hours; without ever making a data call.

However, we knew that explosive growth in data calls was coming (individual blackbenies had

started making 100's of data connections /   hour).      To stress test the new 3G data system,    I



wrote a simple load generator toolthat would simulate the memory load from a high data call

load and ran it on a switching system in a test   lab.   This testing revealed that the system would

not meet the advertised call load capacity (that had been used over the last several years in

sales contracts and that was documented in the system capacity          manual). The testing found

that the individual computers in the switching system would enter a "disk paging" state ( familiar

to users as when a computer freezes and makes a grinding sound as it accesses its harddrive ).

Once a single computer in the switching system was in this state above a certain percentage of

time, automated retry messages would cause the entire system to go into overload and crash.

Several proposals were made by multiple system architects to fix the problem and my proposal

was eventually chosen after several months. I then spent about 50% of my time over the next

2.5 years leading the software project to implement the fix, known internally as "UATI

compression". This project, which was successful, involved many people and at the end of the

project we estimated it was a 15 headcount year total      effort.   Several other projects also

greatly improved overload control concunently. The 3G system never experienced the problem

from disk paging in a live field site and Alcatel-Lucent never paid any liquidated damages; the

3G system then continued to provide data call service to smartphones in the US and worldwide

through   -   2013, by which time 4G was becoming ubiquitous on all new smartphones and data

calltraffic began to transition to the new 4G network.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 20 of 66 PageID #:55


     ALJ CASE #:. 2019CFP00001                             OSHA lD: 5-0460-18-125




26   By 2013I had become a leading subject matter expert on the ALU 3G system's capacity

and performance and I was the lead author of the system capacity manual. I had developed

several "big data" methods for high precision monitoring of switching systems and I was

planning to continue developing this work in   4G.   I described this work in a March 2014 paper in

Bell Labs Technical Joumal. This was my second BLTJ paper since joining the company, the

first was in 2007 and describes adaptive paging.




26a    ---- Lucent, then Alcatel-Lucent, now Nokia: The harassment occurs at the Naperville

campus of what was, since 1996,   Lucent.      This lllinois campus was built by AT&T in 1966 and

is where much historic state of the art work in commercial telecom switching systems has

occurred. This work is well known in the industry by the names of the switching systems that

were heavily developed at this campus, such as the "4E", the "5E", "Autoplex" (=1x CDMA),

and 3G EvDO.




26b    Numerically, the campus had approximately 13,500 employees in 1999 when the plaintiff

joined the company. Since that time, the headcount has fallen to -2500 and large parts of the

campus are empty. There is a 1 /   4   mile square parking lot, that once had shuttle bus service,

that now lies dormant with tall grass growing in the cracks of the pavement (which the company

has recently begun mowing).
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 21 of 66 PageID #:56

     ALJ CASE #: 2019CFP00001                              OSHA !D:5-0460-18-125


26c    This campus was part of AT&T in 1984 when Judge Greene ordered the break up into

the baby be!!s because AT&T had used their monopoly industry position to secretly subsidize

the manufacture of rotary dial handsets using profits from their interstate long distance service.



27   ---- AT&T, the company Judge Greene broke up in 1984.




28 ---- Verizon, one of the baby bells.


29 --- Lucent Govemment Services, A corporation         that is owned by the US government.

LGS is tightly coupled to the wireless division of the former Lucent Naperville campus. LGS has

a nearby campus with approximately 90 engineers. For workers at former Lucent in Naperville,

being hired by LGS is equivalent to winning the lottery (at least in terms of retirement).




Allegations




Overview:



30   Between 2010 and April Fools Day 2016, and then again between Jan and Nov 2018,           I



experienced a series of anomalous and egregious work incidents affected on me by multiple

managers and colleagues. I believe this harassment was based on two underlying causes.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 22 of 66 PageID #:57


   ALJ CASE #: 2019CFP00001                                OSHA lD:5-0460-18-125


30A: The first cause is that on at least three occasions between 2010 and 2015 I had found

performance problems in the nationwide 3G EVDO wireless networks due to specific system

parameters that affected handoff   rates. At each time, the system performance problems were

of sufficient importance that I was able to get my existing management chain to approve field

trials of my proposed parameter changes, however these field trials all ended with anomalous

test results, and strange behaviour from colleagues, including two incidents of rather severe

public harassment in 2014 and 2015 from two separate managers. I now suspect that my

proposed 3G system changes would have affected the handoff rates in the 3G networks and

would have altered the service counts of any small telcos that were using these counts in their

annual FCC filings.



31 I believe the second cause of the harassment I received was due to my ongoing research
wok, starting in 2013, with several 3rd party companies that were developing smartphone

based test systems for testing the performance of the nationwide wireless networks; followed

by a similar period of harassment in 2018 due to my attempt to develop a similar (and greatly

improved) test system through a Nokia business incubator program. lt appears that around the

spring o12014, all commercial research and development was halted on the leading 3rd party

measurement systems; presumably because these systems can detect the USF handoff

mechanism.




32 The initial set of egregious   work incidents only stopped after I had been demoted from an

architecture position to a lab tester position in Nov   2015.   I have strong reason to believe that

the last incident was a fake job offer from LGS, sent to me subsequently on April Fools Day
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 23 of 66 PageID #:58

     ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


2016; initiated by Chris Miranda (who is a VP at LGS), as a victory dance on the grave of my

career, four months after my demotion.




33 These egregious    work incidents resumed starting in Jan 2018 and continued through Nov

2018, at which time I went off role. I had continued to develop the design of a smartphone

based measurement system (still completely unaware of the industry wide prohibition and the

USF subsidy program) and in Sept 2017, I submitted the latest version of the project, first called

PMUD then Shannon, to the Wireless Design lnnovation Accelerator program. lt was initially

accepted and vigorously supported, due to an expected profitability of > $2M / year, and then

around the end of January 2018, it became just as vigorously "not-supported". I was never told

that the project was cancelled, but instead was sent on a series of very public wild goose

chases that I believe were intended to be publicly humiliating; as a warning to others to avoid

this work, similar to the previous public incidents in 2014 and 2015.




34 lt should be noted that my yearly corporate   goals included the topic of smartphone based

measurement topics, going back to at least 2008 (iirc), and that these goals were approved by

my management chain each year.



35   My inability to advance in career, coupled with the public and seemingly personal

harassment starting in Jan 2018,|ed me to take a medical leave on May 7th for a "work related

stress injury". I was driving home from work that Friday and had become depressed and was

very lost in thought on this matter and almost pulled in front of an oncoming car at a right tum on

red. When I got home I sent an emailto my manager stating that I needed to go on a disability
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 24 of 66 PageID #:59


   ALJ CASE #: 2019CFP00001                              OSHA lD: 5-0460-18-125


leave. I remained on the STD leave for six months and then went off role from the company on

Nov 7th as described below.




detailed notes of harassment incidents:

35A:    I believe there were two initial events in 2010 and 2012, followed by a series of events

between March 2014 and April Fools Day    2016. A second series of events then occuned from

Jan-Nov 2018. (dates are approximate)



2010 Early smartphones and the data explosion



36: At this time the data call load on the US 3G EVDO networks was growing rapidly. Users

were rapidly upgrading to the early smartphones. The necessary 3G switching systems and

associated celltower equipment was being manufactured and installed as fast as possible by

Alcatel-Lucent and all of the large telcos. The intemal software of these systems was also

being modified rapidly to keep up with wireless network technology that was rapidly developing

within 3G.




36A: I had developed specialized data analysis methods based on a data set known as per call

measurement   data.   This allowed me to examine system performance in great detail. Also

during this time, the performance limiting constraint on the ALU 3G EVDO system was the cpu

occupancy of the "signaling servers", which are the computers that handle administrative

messaging between the towers and phones. While exploring for ways to reduce the signalling

server cpu occupancy, I found an anomaly that was causing an excessive number of handoff
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 25 of 66 PageID #:60

   ALJ CASE #: 2019CFP00001                                                           OSHA lD:5-0460-18-125


operations in the field systems of the large telcos. Further investigation over a 6+ month period

revealed      that by adjusting a single parameter, the number of handoffs could be roughly halved

and the cpu load would be reduced by about 10% (relative). This study is detailed in exhibit A,

which contains the plot below that provided the first detection of this anomaly.                                        I   now believe

that when I made this plot in early 2010, that it was the beginning of the end of my career.




       PCfr{D Anatysis           of Soft Handoff Activity

         PCIID data shors spikes in RL SHO add/drops                     at   1 and 4 seconds.

                                                                                            Approx.     50%   of RL SHO
                                                                                                 recorded in PCI{D are in
       0.t,
              I                                                                                  the 13t or 4s second of
                                                                                                 the conrrection.
       0.1:   :
              :
                               Adds
        0"    :                                                                             RL SHO     coniumes -7U6 ot
              ;        .,'            DmrB                                                       AP F0 (relative)
              t
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368:    Exhibit A is the powerpoint presentation that I made at the time to document my study

and proposalto mitigate the excess handoffs. I worked the proposal up my management chain

and was eventually connected to Amit Shah and a field trialwas set up on a Verizon market.

The test was to change a parameter called T_drop_int from OdB to                                       -13dB. This parameter          is
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 26 of 66 PageID #:61


    ALJ CASE #: 2019CFP00001                                      OSHA lD: 5-0460-18-125


the Y intercept of the diagonal line in the plot below (the origin is at upper right corner). ln this

plot the X and Y axes conespond (approximately) to the signal strength of the strongest and

next strongest cell tower signal respectively when a 3G phone can detect two unique signals

and a "call leg drop" event occured; each point is one event and there are approximately 1M

points. The EVDO term "Ec/lo" = signal / (signal + noise).




             I iomtinoO Ectto v edo oroppco teg, iUila                  I
             o      0                                                                         T_drop_lnt
             ?
              o                                                                                  = OdB
             G(,
             ttl
              E
              a
              E
                    -o

              so a
              cl .t0
                   .12

   T_drq     =     -t4
    - t3dB         -t6
                   .t8
                   .2S     .r8 -10 .14 -12               -10            ..6-t-20
                                                                         Combhed Ecrlo, dB




36C After the parameter change was made in the field site, I found that the number of handoffs

and the cpu occupancy had not changed at         all.   I then   downloaded new PCMD from the Verizon

field site and regenerated the above scatter plot and found that it was completely unchanged,

which told me that the parameter had not been changed. However, Amit could not be

convinced of     this. I recall the final call we had on the subject   and that he tried to give me
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 27 of 66 PageID #:62

   ALJ CASE #: 2019CFP00001                              OSHA lD: 5-0460-18-125


nonsensical explanations. I also tried contacting the Vezon team we had been working with to

request that they confirm the parameter was changed and they did not respond to my email.




36D: I had worked this issue for close to a year at this point (as a background project). During

this time, the underlying cpu constraint had been completely mitigated by a planned new

hardware version of the signalling serverci, so my initial attempt to modify the T_drop_intercept

parameter was halted at this point.




2012



36E: I had been working on a feature called network load balancing and found a second

technical reason to change the T_drop_int parameter. Exhibit    B   is a powerpoint presentation of

an early proposal of this feature enhancement. I recall that there was a subsequent email

chain and that it was determined that my proposal could be more easily implemented by simply

changing T_drop_int to -5 dB (l recall). This proposal eventually met the same nonsensical

ending as my previous attempt, this time from a different long time   colleague.   I believe that

the common element in both cases, and those below, is that someone was being told to not let

me change the parameter, and most likely that they did not know why, so that I ended up

receiving strange nonsensical answers to my queries.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 28 of 66 PageID #:63


   ALJ CASE #: 2019CFP00001                                OSHA lD: 5-0460-18-125


-12t2013

       37    A former manager, Ming Hsu-Tu, asked me to examine 3rd party wireless network

performance measurement systems, including Rootmetrics, Ookla, Agoop, SpeedTest, Open

Signal, and others. I often worked with different managers on side projects such as this.        I




worked on this at -33% time for several months and compiled an initial report, exhibit C.



37A   During this interval, I interacted with data scientists from these companies and obtained

data samples from them for analysis of possible business opportunities. We could alltellthat

this was a burgeoning field. This was still an active research area and we discussed various

ideas on the topic and directions that the methods and techniques could be extended        in. The

RootMetrics team had just   run a crowdsource experiment with 60K smartphones and had not

finished analyzing the data. They called it 'dirh/". I offered to look at it for them but they

wouldn't let me see it.



37 B: lt now appears that around this time, there was an industry wide freeze enacted on third

party measurement systems, which explains Kevin's behavior below. This action may have

been a result of planned legislative changes to the   USF. My understanding is that in 2014          the

cacm and acam sub-programs were enacted by law; it also appears that around this same

time the RootMetrics and OpenSignal test systems were frozen, evidenced by the fact that their

test methodologies have not changed since then (discussed below).
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 29 of 66 PageID #:64

     ALJ CASE #: 2019CFP00001                                        OSHA lD: 5-0460-18-125




-312014 The Kevin. Ming. Ken illogicalmeeting



            38   My manager, Kevin Menke, called a meeting with Ming and I and said that I must

stop working on this topic because        -   "it's too complicated and you will never be able to figure

anything out from that       data".   He became animated and made numerous illogical claims on the

call and would not back down from         them.     I think this   was supposed to be a waming. Ming

might have got it, but I didn't.

                 o   712018 I learn from the manager of the DIA program (without ever communicating

                     directly with him) that there was a related Bell Labs project, lead by Neil

                     Bernstein's wife (Neil=Kevin's mgr), that was cancelled or othennrise did not

                     become commercially available; and that this occuned at approximately the

                     same time that Kevin began illogically insisting that I must stop working on

                     smartphone based test systems



3/2014 Kevin's bicycle grouo meeting



            39   Shortly after the above incident with Ming, Kevin asked me to prepare a 15 minute

talk on my work for an upcoming group meeting that he was flying in from St. Louis to attend.

About a minute into the talk I showed a histogram of 58K throughput measurements from one

of these 3rd party vendors. The histogram showed a gaussian type distribution with a long tail

extending to the right, except that there was a large anomalous spike (in a single bin) present in

the tail.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 30 of 66 PageID #:65


   ALJ CASE #: 2019CFP00001                                  OSHA lD: 5-0460-18-125


        40   I began to explain my theory that a certain system parameter was set inconectly

and causing the   spike.   Kevin intemrpted to say that he thought the spike was probably due to

"somebody riding their bicycle around the block and pressing send in exactly the same place

each   time". This left me perplexed    and slightly stunned as I stood in front of the group. I recall

the sequence afterwards as me replying that there were -58 thousand counts in the histogram

and it was taken over a 7 day period, to which Kevin replied,     -"it could happen if he did it

enough'. I recall looking at my group members around the table and they al! seemed extremely

anxious. Doug Botkin was frozen with fists clenched and staring directly at Kevin. Penny

Bright broke the silence and said that she thought "Kevin was right" and I recallthat I took the

opportunity to end my talk.




41     Kevin was delivering a very sophisticated message to the other group members, saying

that myself and by extension my work was off limits. I am quite certain that Kevin did not think

of this message by himself because I received a similar message two more times from two

different managers over the next four years.



41A I had been in Kevin's group for over a yeat at this point and I had probably interacted with

him one on one only a couple of times in this interval, and only a couple more times in total on

several group   calls. I did not know   him well and initially mis-attributed his behaviour; he flew

back to St. Louis after this meeting and I do not think I spoke with him again    for   at least a

couple months.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 31 of 66 PageID #:66

    ALJ CASE #: 2019CFP00001                                    OSHA lD:5-0460-18-125




3/2014 - 7/2015 Sprint Network Vision Project


        42    After the above incidents, I was assigned        to the SNV   project to search for ways to

improve the performance of the Sprint's existing 3G EVDO network. ln former-AlU at

Naperville, I was one of the last EVDO subject matter experts still not yet transitioned to 4G.        !



was kept on this SNV 3G project for an additional 1.5 years. Several long time colleagues from

New Jersey also took part in this project and it was noted amongst us that this 3G project was a

career dead end but that there appeared to be strong pressure to produce numeric

improvements in the Sprint network KPls (key performance indicators).



43   I experienced a series of anomalous         delays to my work on this project during this time.

 The first anomalous work interaction I recall was that I had developed a theory for an

improvement that first needed to be trialed in a small cluster in the Sprint network in order to be

validated. This test was delayed inexplicably for approx four months.



44     lt was not until Dave Rossettiwas brought in to lead the effort that I was able to get my

field test run in Nov 2014, exhibit   D.    The result was positive and resulted in a -50% reduction

in the drop call rate for data   calls.   My test had identified calls that had finished transferring data

and then dropped while they were waiting to timeout normally. lf a call drops while waiting to

timeout and no additional data ever needs to be transferred, then this call can (arguably) be

discounted as a dropped call.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 32 of 66 PageID #:67


     ALJ CASE #: 2019CFP00001                                OSHA lD: 5-0460-18-125


45   Sprint officially adopted the result of my test and the corresponding parameter changes.

The same changes were then subsequently made on Sprint's Samsung EvDO switching

systems nationwide. I was given an increased bonus for 2014 for this work.



1/2015 Request Denied to leave SNV         to   pursue smartphone app




           46 After the above successful   study and parameter change, I requested in an email to

Kevin and Neil that I be allowed to leave the SNV project and resume working on smartphone

based measurement technology. Neil denied this request in writing in a reply email, and also

telling me that the SNV project was important and he needed me to keep working on it.




1/2015 T_droo int        (redux)


46A    I   then dusted off my earlier work on the T_drop_int parameter and wrote the proposed

parameter study shown in exhibit    E.     This proposal details various technical reasons for

changing the corresponding "soft_slope" parameter,       . I now suspect   that changing this

parameter would have altered service counts related to the USF subsidy, as a result, the

perpetrators of this harassment could not allow myself or the group to pursue this line of inquiry.

I believe that if I wasn't already planned to be in the upcoming Sept. RlF, that I most certainly

would have been after reintroducing my previous T_drop_int work.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 33 of 66 PageID #:68

    ALJ CASE #:. 2019CFP00001                                    OSHA lD:5-0460-18-125




22015 The 1.5 Sigma Customer Meeting



         47    I   was assigned to monitor a parameter trial in the Sprint network in parallel with my

other ongoing work. The trial was done on a smalltest cluster of approximately 20 cell towers.

After approx four weeks of accumulating data, there appeared to be an improvement of -5%

(relative) in one KPl, but this was only at the    -   1.5 sigma level of statistical confidence. This

was obviously not yet statistically significant, however Neil directed that I take this result to

Sprint and attempt to convince them to buy into the parameter          change.    Aftenarards, Dave

Rossetti and I could not figure out why Neil was making this request. Mistakes are common in

data analysis and I thought Neil had misread the         data.   We decided not to add it to the agenda

of a Sprint meeting that was scheduled for the next day.




         48 At our next weekly team meeting, Neil asked how Sprint reacted to my data. Either
myself or Dave told him that we did not show it to them. At this point Neil became suddenly very

angry and started yelling on the group call, to the effect -"1 told you to do it so why didn't you do

it!!"   After a strained silence, I replied -" that we could say that the data is trending in the right

direction and we feel it will continue to do so'



         49    Dave Rossetti and I then subsequently met with a single engineer from Sprint in a

call scheduled for this    purpose.    Dave said that we were going to recommend this parameter

change, to which the Sprint engineer replied -"that's great Dave, show us the data and we will

decide".     There was silence and I think I was supposed to share my screen and talk, but I had

nothing to add and we ended the meeting (in under 5 min) without ever showing the Sprint
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 34 of 66 PageID #:69


     ALJ CASE #: 2019CFP00001                            OSHA lD:5-0460-18-125


engineer our 1.5 sigma   data.   After several more weeks of data accumulation, the 1.5 sigma

result disappeared and we never pursued this parameter change further.




        50 I now believe the purpose   of Neil's illogical behaviour was to publicly ostracize me

for an obviously inconect reason. This is the same message that Kevin delivered 12 months

earlier with his bicycle comments at his group meeting. I believe the message was meant for

the other engineers and it was to avoid working with me and specifically my work with the EVDO

handoff parameters.




3/2015 - 6/2015 I duplicate my 2010 test results




50   A: My T_drop_int parameter   trial was however allowed to move fonrard and I quickly

duplicated part of my results from 2010, namely that after Amit Shah had the parameters

changed on the Sprint test cluster, that there was zero change in any   KPls.   Exhibit F is a

status summary from 41212018 and shows that my trial produced no discernable change to

system KPls. Following this status summary, I downloaded the cunent day's PCMD from the

test cluster and found that the soft_slope parameter had in fact changed. My study then

proceeded through a series of test intervals and was completed in June with exhibit G, in which

I conclude there was no discernible change in KPls even though my PCMD analysis was

showing that the softslope parameter was being changed.


508: Based on the previous context, I would speculate that the parameters could have been

changed for a short intervalto allow PCMD data to be collected, and then the parameters could

have been changed back (pcmd data files were hourly and I usually only looked at one at a
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 35 of 66 PageID #:70

    ALJ CASE #: 2019CFP00001                               OSHA lD:5-0460-18-125


time).   This is purely speculative, however I can state unequivocally that in 5+ years of

studying various side effects of this handoff mechanism, I was never able to get the parameters

changed and that this was last study I did on the topic.




3-4 /2015    The   "Amit vou know damn well it willwork" Meeting




         51    The SNV team continued to meet weekly and during this time, in parallelwith other

work lwas doing, I helped developed an idea for a small software change (referred to as a

'Teature") to the switching system that would give an expected -30o/o reduction in one of the

KPls (either blocks or drops). Unfortunately I have not been able to access the email that

contained the details of this feature. I recall that I proposed a test to validate some particular

detai! and   that, I needed another engineer (Xinyu Huang) to run a field test in an RF hole ( < 1

bar ) using a tool called QXDM, which I did not have a license for.




         53 The test plan was agreed to during our weekly meeting, however, Xinyu then
delayed running the test each subsequent week for several weeks. The team had been under

enormous pressure to improve the Sprint KPls for over a year at that point and I had a feature

designed that would provide a substantive improvement, and      yet, I could not get my colleagues

to run a simple test to validate it.



         54   After about four weeks of delay, I became angry with the team on the weekly     call.   I



recall that there was a strained silence as I demanded to know why my test was being blocked.

  Amit Shah attempted to defuse the silence by saying "Ken, I don't know if it willwork", to
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 36 of 66 PageID #:71


   ALJ CASE #: 2019CFP00001                                   OSHA lD:5-0460-18-125


which I exploded in response "Amit, what are you talking about, you know damn well it will

work".




         55   I have worked with Amit and Dave for   - >15 years    and have the utmost respect for

them professionally.   I   feel they were under some form of pressure and this explains the

anomalous behaviour that occured during this      interval.   After this incident, Xinyu collected the

data and the feature design was validated. We submitted the feature design to IPRC in lndia

(where 3G development headcount had been moved).




5/2015 IPRC cancels the oroiect



         57   The next step in the feature process was for IPRC to review and estimate the

design. Dave and I received a personal emailfrom a Director at IPRC (whose name I cannot

recall) stating that he had decided not to pursue development of the      feature. Feature work    is

complex and there are many factors in deciding to whether to develop a feature or not; it was

also late in the EVDO lifecycle with only maintenance (bug fix) work ongoing. I did find the

decision surprising, given that the SNV p@ect had driven so hard for any improvements in the

system and the feature would have been a small development project.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 37 of 66 PageID #:72

      ALJ CASE #: 2019CFP00001                              OSHA lD:5-0460-18-125




9/2015 RlFed. email lost. Kevin leaves fingerprints



         60 I was RlFed (laid off) on 24 Sept 2015. At the Thursday RIF meeting, I was offered
a lab testing position. I declined, stating that I wanted to look around extemally. The normal

RIF procedure is for the manager to confiscate the employee's laptop at the RIF        meeting.     I



asked if I could take my laptop home to copy files and retum it the following Monday. Kevin

agreed and I walked out of the meeting carrying my laptop.



61     I believe that when I declined the demotion and walked out of the RIF meeting with my

laptop, that this caused Chris Miranda, and/or others, great concern that I was planning to file

some form of wrongful discharge lawsuit and that they instructed Kevin to retrieve my laptop

and delete my emailfrom it, which could be a SOX 802 violation.




62    At this time, I was still unaware of the connection between the harassment I had received

and   the EVDO   handoff parameters (and the USF subsidies), but had I filed a wrongful

discharge lawsuit and subpoenaed Neil Bemstein's email, based on his unusual behavior during

the SNV project, then I suspect I would have discovered further compromising information

related to my study of the EVDO handoff parameters that could have led to the USF subsidy

scheme.




63    Kevin called me at approx 4:00pm the same day and said "the HR woman needed my

laptop first thing in the morning on Friday and could I bring it   in?".   I complied and gave my

laptop to the HR contact Friday at 8:00 am at the front desk. I asked the HR contact if she could
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 38 of 66 PageID #:73


     ALJ CASE #: 2019CFP00001                               OSHA lD:5-0460-18-125


accompany me into the building so that I could retrieve a soldering iron from a lab. She agreed,

but said she first had to give my laptop to someone. She left me unattended for several minutes

inside the building and returned without my Iaptop.




64   After two months, while still on payroll, I could not find any extemaljob leads and I inquired

with Jamie Wiegel if the lab tester position was still open. lt was and I retumed to work in her

group.




65 When my laptop was returned       to me, Outlook would not    start.   I called the help desk and

they determined that the outlook.pst file (which is the inbox) was missing. The help desk

technician created a new outlook.pst file and Outlook would then start, but the 1.5 years of

emailthat was in my inbox was lost.



66   At the time, I had asked the dept secretary, Trish,   if lT had done anything   to my laptop and

she told me that it had been in her cabinet for the whole two months.



     o   812018 Kevin was RlFed by Neil in Aug and I spoke with him by phone about a week

         afterwards and had the following exchange: "Kenr I think Neil got nervous when I didn't

         take the lab job and deleted my email. Kevin (tip of tongue): I don't know when he could

         have done that because I gave your laptop to Trish first thing in the morning and she put

         it right in the cabinet"



     o   From Kevin's statement (which I wrote down immediately after our call) we can conclude

         that he stayed the night in Chicago after my RIF meeting (before flying home to St.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 39 of 66 PageID #:74

    ALJ CASE #:. 2019CFP00001                                          OSHA lD:5-0460-18-125


         Louis) and that he took possession of my laptop Friday morning after I had given it to the

         HR contact and then gave it to Trish at some later time.




67-70        One way to access the hard drive of a windows PC that is locked is to remove the hard

drive and plug it into a second PC using an external hard drive cable. I realized that if Kevin

had deleted my outlook.pst file using this method, there would likely be latent fingerprints on the

inside case of my laptop. This laptop had been returned to me in November 2015 and I have

used it for work ever since.




71 I subsequently        partially disassembled the laptop case and dusted for latent fingerprints.                    I



found several partial prints and a thumbprint on the inside of the plastic case. Kevin would

have also likely had to purchase an extemal hard drive cable that Thursday night, in which case

there may be a record.




72    lf my theory presented above is correct, then there could be corporate officers that are

subject to prosecution under SOX           802:     Section 802(a) of the SOX, 18 U.S.C. S 1519 states:


Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any record,

document, or tangible object with the intent to impede, obstruct, or influence the investigation or proper administration

of any matter within the jurisdiction of any department or agency of the United States or any case filed under title 11,

or in relation to or contemplation of any such matter or case, shall be fined under this title, imprisoned not more than

20 years, or both.



724      I   had made a recent backup of my outlook.pst, but I have since found it to be corrupted,

so now I think that Kevin's mission did in fact deny me my emailfrom this period.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 40 of 66 PageID #:75


         ALJ CASE #: 2019CFP00001                                                     OSHA lD: 5-0460-18-125




April Fools Day 2016



73 The screenshot below                              is of an email I received on Linkedin     on April Fools day at 12;48 am

from an LGS recruiter's account. This recruiter's linkedin profile indicates he lives in

Califomia. I had applied to all open LGS jobs when I was RlFed six months earlier. I also used

to send April Fools day jokes company wide (before it was cool), but I have not in about 10

years. At that time, Chris Miranda was a manager at Lucent and I worked near some of his

group members and I had many passing interactions with him.




th   work - hnt auto insurance dllcounts? You cqrld save up to 1596 s,tth                   tctltle Auto6l

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             education for LGS lnnovations. I'm sure you are aware w€ are a
             leader in tfie gwernment and commercial telerom space- We
             have our ups<ale office in Lisle, ll dramatically increasing in size
             year after year. We are open to a nite satary increase for a
             randidate like yourself along with full benefits, 4O1k 5%, 3
             weeks of varation, and a T*hirt & jeans culture.                                  Aiout        He(p

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             week" Please just shoot me your resume/emai[. I will work
             around your schedule, so just let me know when you are tree         to               t.iJscdfr    L,

             have a conversation-


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             720-47 l     -1   049 | rranford@tgsinnovations.rom
             Kcn Dcl   Signorc'i:"li r*r                                              *.,
     *       Hi Ritey, thank for reaching out" l'd         like to learn more.


             Xcn Dcl Sigaorr . 8:06 A[l
     *       this has qot to be the most eoic aoril fools day ioke in written
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 41 of 66 PageID #:76

     ALJ CASE #: 2019CFP00001                              OSHA lD:5-0460-18-125




74-75    My assumption is that when    I   turned down the lab job at the RIF meeting, that this was

unexpected and caused great concern to the perpetrators of the USF scheme that I would

discover it through email records, and that this caused them to panic and instruct Kevin to

delete my outlook.pst file. Then four months after my safe retum and demotion to the lab job,

Chris Miranda took the occasion of April Fools Day to send me the above       message. The

plaintiff notes that this was an extremely good April Fools Day joke at the   time (given the

context); and also that it has aged even better (given the change in context)   .




76   lf Chris obtained Riley's login and password from him, he could have logged into Riley's

account to send this message to me at 12:48am. lf that login occuned from Chicago, then

Linkedin will have a record of the city, state, zip code, and lP address used to login to Riley's

account that Friday morning. Depending on the lP address, the street address may also still be

available from the lSP.

   1212018 this linkedin message now appears three times in the plaintiffs linkedin email

display, which may indicate that its sql database record has recently been manually touched

and inadvertently altered.




77    Nov 2015 - Sept   2016   I had been demoted to a lab test group, to the position of "teste/'.

It should be noted that although this was considered a demotion by company norms, it is a well
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 42 of 66 PageID #:77


   ALJ CASE #: 2019CFP00001                                OSHA lD: 5-0460-18-125


known industry fact that testers are the generally the most important engineers in the software

development lifecycle process. lmmediately upon joining the group I was advised by my new

group members that significant headcount cuts were planned (the testing work was being

moved to China and Poland) and that I should start looking for other positions in the company

immediately. At this time, I was slated to work on the 1X to 4G voice transition (VoLTE) and it

was felt that this effort would last at least three years, so I was at least temporarily safe. The

VoLTE transition turned out to be relatively trouble free and within about 12 months the main

project appeared to be finished and the standing meetings became intermittent, as needed, and

then eventually stopped.




78    Nov   2016    After the VoLTE meetings and associated test work stopped, I was given no

further work assignments. At this time I compiled a report on several possible "big data"

projects that I could do in the lab based on my work done in the 2014 BLTJ paper and       since.    I



met with my manager and my tech team lead and discussed these projects but received no

further feedback from my manager.




79    Dec 2016 - March     2017   During this time I applied to every open intemal position that

matched my background, including software developer and tester positions. I received no

replies to any of these applications from any hiring managers within the wireless division of the

company. There was one Bell Labs manager that had been advertising a technicalwriter

position (for several months) which I lobbied for, but was eventually told it was only open local

candidates in NJ.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 43 of 66 PageID #:78

     ALJ CASE #: 2019CFP00001                               OSHA lD: 5-0460-18-125


80    March   2017 I was hired    by Dave Snyder in a different division of the company, then

known as Applications and Analytics. Dave and I had worked closely together for several years

in the early 2000s, just after ljoined the company and then had lost     contact. At that time I was

working as a software developer on the 1X system and Dave was a *very* good software tester

who found, and alerted me to, many flaws in the 1X system. Dave had become a manager in

the new A&A division of Nokia and recognized my name when I applied for an open position he

had advertised. The position was a service desk job working on what is known as a "cloud"

server farm; which used to just be called a server    farm.   This so called "cloud" technology, and

the new A&A division, was where all the buzz was in the company and several long time

colleagues had transitioned from wireless to A&A. Even though Dave's job was a service desk

position, I expected to be able to advance from it as I had done when I first joined the company.

Furthermore, I was not being given any significant work to do, so I felt I would be RIF-ed if       I



stayed in my current position much longer.



81   April2017 I held two   t   hour meetings (after leaving wireless) to present the results of work

I had done with my team members in the wireless test lab department over the period Dec16 -

Mar17.    During this time, since no work was being assigned, we fleshed out various wireless

testing ideas, including some that would become part of Shannon. During this time         I



developed a simple extension to the single C++ class that is used in my 2014 BLTJ paper. This

extension allowed for the easy aggregation of high rate data of complex nature and was

generally applicable to any large data set, so there were many engineers interested in        it.   The

two presentations on the subject were both well attended by many engineers and long time

colleagues from Naperville that were stillworking in wireless.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 44 of 66 PageID #:79


     ALJ CASE #: 2019CFP00001                               OSHA lD:5-0460-18-125




Sept   2017      The Shannon Project




82 This project was submitted       to the wireless DIA program 912017 in response to a company

wide solicitation for business proposals. The original app idea was a background process

running on the UE (smartphone) to passively collect anonymous user generated data for

Machine Leaming/Al research. Users would be offered a discount on their phone billto install

and run the app.




83 The DIA coach (Michael        Delafachell) asked if there were any other profitable uses of such

an app.      I knew of the   -$40M/yr revenue of RootMetrics from my earlier work and Michael

asked that I look at adapting my app for the RootMetrics market.




84     After several hours of reviewing my notes on the RootMetrics system (exhibit C) and their

business model (which had not changed in 4 years) it became immediately obvious that the

RootMetrics business model could be easily challenged with a crowdsourced smartphone

based app that passively measures user generated blocks, drops, and throughput counts, as

described in Exhibit H.



85     Numerically, RootMetrics was collecting data on 1.6M connections per year on each of the

four large telco's networks. They then offered subscription access to this data to the four large

telcos individually for approx $20M/yr; they currently have Vzn and one other large telco

according   to   a recent annual report of their parent company, IHS   lnc. A key benefit   of the
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 45 of 66 PageID #:80

     ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


RootMetrics data subscription is that it allows a subscribing telco to see the performance of its

competitors networks.



86 ln contrast, the Shannon system was estimated      to collect 25M connections per day and we

could have offered subscription access for approx $1M per year to each of the four large telcos.



87    ln early Jan 2018, the system (then called PMUD for passively measured user data) was

designed and ready to begin development. At approx the end of January, I believe that my

project was silently canceled because of the prohibition against such systems. My theory is

that the project had been approved for funding by the DIA program managers based on its

obvious merits, and then, right before the project was funded, someone familiar with the USF

scheme must have seen it and had it killed.




88   Over the next two months I suffered another series of anomalous public events. I was not

told the project was canceled but instead tasked with a series of wild goose chases by Michael

Delafachelland two Nokia business managers in Helsinki.



89   This series of events occurred semi-publically and was watched closely by many of my

former colleagues, who had also witnessed my career decline since 2013. ln early January (!

think before the cancellation), I was instructed to "add one or two more team members". I then

discussed these roles with severa! people who had been following the project. They were

enthusiastic about the opportunity and subsequently followed the project's progress closely as

the wild goose chases unfolded.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 46 of 66 PageID #:81


     ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


90 The first and last communications I that had with Michael Delafachell during the goose

chase period indicated to me that was some serious anomaly occuning related to this matter

and that I would likely be forced to leave the company as a   result. As described below, I

leamed from these communications that Michael had not read any of the material I had

generated during the two month long wild goose chase period, which indicated to me that he

had known the project was irrevocably cancelled in late Jan.




91   Michael's first wild goose chase question was "how are you better than OpenSignal?". This

question was delivered by Michael at a large meeting in the Naperville "Garage" meeting facility

in early February, when the project was still called   PMUD.   lt appears that Michael knew that

the project was irrevocably cancelled in Jan, yet allowed me to hold this meeting. At this

meeting he also said that the project needed to work on its "business   model". Numerically this

makes no sense; the PMUD design would allow us to offer a data service similar to the

RootMetrics service, which they charge $20M lyear for and currently have two subscribers

(Verizon and one other). lmportantly, we can offer this service for approx $1M/year, and it

would have three orders of magnitude more data and provide 24171365 nationwide coverage.

Michael, who only a few weeks earlier was excited about the project and had told me to add two

more team members, was now completely unimpressed by these statements and held firm that

the business modelwas a problem.




92    However, his OpenSignal question led me to re-examine my 2013 notes on OpenSignal

and SpeedTest and this led me to make considerable improvements to the PMUD proposal and
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 47 of 66 PageID #:82

   ALJ CASE #: 2019CFP00001                               OSHA lD:5-0460-18-125


rename it Shannon. ln particular, in PMUD the end user had no visible data displays. All of the

data was aggregated and utilized at a central   server.   By reviewing the OpenSignal and

SpeedTest web sites, I realized that if we expose the measured data to the users, this would

create many interactive displays and it would likely be a popular app, as are OpenSignal and

SpeedTest. By exposing much more advanced information relative to SpeedTest, I expected

that the app could have a similar large online following. Alarming mechanisms for detecting

service degradations could also be greatly improved by using the smartphone to trigger on local

changes in service quality from historic trend data. There would also be a poke-e-mon go type

display that would allow users to find and map what are known as "RF holes" (Exhibit H, pages

2 and 10).




93   I assembled all of this new material into a new deck, renaming the project Shannon and

sent it to Michael. He continued to delay the project and eventually handed me off to a Nokia

business development manager in Helsinki, Petri, who recommended that I read the book "Blue

Ocean Strategy''. Petri explained that this 2005 book proposes that corporations are like sharks

and that when sharks fight over food they tum the water red with blood, therefore, corporations

should search out only Blue Ocean Revenue Stream Opportunities.




94   By the end of March, the Helsinki objections were reduced to trivial requests such as "can

you cut your 7 page presentation down to 5 pages?". I then abandoned my effort to pursue the

Shannon project through the wireless DIA program. I had become depressed and highly

affected by the traumatic stress of these incidents, the effects of which included unsatisfactory

work performance in my service desk position. ln the month of April I submitted the Shannon
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 48 of 66 PageID #:83


   ALJ CASE #: 2019CFP00001                             OSHA lD: 5-0460-18-125


project to the First Annual Noia Al Conference in Helsinki and was expecting an answer by May

7th, but ! had othenrise given up on the project.




95   During this time, what I believe is a blackballing incident also occurred. Nokia has an

intemal employee forum called Yammer. There is a subgroup devoted to artificial intelligence

and neural networks that is active with many posts on state of the   art work in the field. During

-March-April, one senior Nokia researcher posted a weekly series of fundamental computer

science questions, which were refened to by the week number that the question was posed in.

 Employees were invited to publically contribute answers to the questions on the yammer

forum, and each week the senior researcher would pick the best submission and announce it.



96 The week 2 problem tumed out to be profound and went unanswered           for severalweeks. lt

had stuck in my head the whole time and I was eventually able to write a C++ program that

solved the problem. lt implements a Hebbian sorting mechanism that I have not seen

described before. I submitted this program with a powerpoint deck that described the solution.



97 To my surprise,    the week 2 award was subsequently given to another Nokia researcher

who had conectly surmised some properties of the solution and written a monte-carlo simulation

that generated some related scatter plots (but not solved the problem). I had actually submitted

a working neural network that solved the problem and this solution was not even    mentioned.    I



subsequently emailed the senior Nokia researcher running the contest to inquire about my

solution and I received no reply.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 49 of 66 PageID #:84

     ALJ CASE #: 2019CFP00001                                  OSHA lD:5-0460-18-125


98   On May 7th I went on disability as described above. On approx. May 12th, I received a

late notification that the Shannon presentation had been accepted to the Nokia Al conference in

June in Helsinki. Following this, I contacted Michaelto see if the project could be moved

forward. I wanted to know if I was throwing rocks in the ocean by attending the Nokia Al

conference and showing my work. Consequently, we held one final meeting in mid May where

he inadvertently revealed to me that he had not read any material I had generated since the first

wild goose chase question in early Feb. He did so by asking me the very same question ("how

are you better than OpenSignal?") from his notes, as if unaware of the significant changes that

had occured since January, that were prompted by the exact same question, and which I had

thoroughly described in the Shannon version of the project. I responded with surprise that there

were "seven pages in the deck about         that".   Michael quickly caught his mistake and

responded with "well let's look at the deck then". We then read through the Shannon deck

[Exhibit H] and it was clear to me that he was seeing this information for the first time.




99    ln addition to the RF measurement potential of Shannon, there are many potential machine

learning/Al uses for the     app. The presentation    in Exhibit   H   contains several proposals that

could be affected with the Shannon system, one of which is a an app that uses a deep neural

network and low resolution images from the front camera to discriminate between driver and

passenger and then uses this information to prevent texting while driving, but not texting while

riding (ie not in driver's   seat).   These economic/societal benefits are not being realized due to

this matter.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 50 of 66 PageID #:85


      ALJ CASE #: 2019CFP00001                                                                                              OSHA lD:5-0460-18-125


5/2018 - 10/2018 Disability



100     Upon going on disability, I filed an initial ethics complaint                                                                          below.                 At the time I did not

know for sure the reason why the Shannon project had been squashed or that it was related to

the events of 2013-16. The consensus view of those familiar with the project was (inconectly)

that it would threaten the RootMetrics national results which showed that Verizon consistently

has the best performing network in the country.




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-1    June

101     On the 3rd week of my disability I met with the Nokia compliance                                                                                             council. I discussed

with them details of the Shannon project, the wild goose chases, the fact that Michael had not
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 51 of 66 PageID #:86

     ALJ CASE #: 2019CFP00001                               OSHA ]D:5-0460-18-125


read any material I sent him after Jan, and the RootMetrics theory; I also raised the issue that

Neil had tried to get me to lie to Sprint regarding a parameter change (1.5 sigma meeting).




-7 July

102        After 5 weeks, Nokia council scheduled a follow up meeting. At this meeting they first

recited my story back to me, and then told me that they found that the company did not collude

with Vzn to squash my project (ie the RootMetrics theory). Regarding the 1.5 sigma meeting

they told me that some of the people involved had left the company and they were still looking

into it.




103        As an excuse as to why my project was cancelled, I was told that the DIA manager said

there was a similar project done at Bell Labs four or five years ago and they had decided not to

pursue the technology, but that I was "welcome to resubmit my project to the DIA program when

I had addressed the financia! and technical concerns that I was given".




104        I had heard two previous excuses from this same manager (both relayed to me through

Michael during the wild goose chases); each of the three excuses was different except that all

three started with "The Bell Labs Project...".



105        This caused me to review my notes trom2014 on the BL project and lfound that it also

used passive measurement techniques similar to my proposal for the Shannon project, which

meant that its designers would have known that it could easily challenge the RootMetrics $50M+

annual market. The fact that the BL project had not become a commercial product led me to

believe that it had also been squashed. Additionally, a colleague had recently told me that
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 52 of 66 PageID #:87


    ALJ CASE #: 2019CFP00001                             OSHA lD:5-0460-18-125


Neil's wife had lead the project, and with the information I had just leamed in paragraph 103,   I



now knew that the approximate time of the project was the same time that Kevin began his

illogical behavior.




-14 July

106    I requested another meeting with Nokia council regarding the connection between

Shannon, the BL project, and Kevin's illogical behavior in 2014. We held two meetings because

the senior Nokia council had to miss the first meeting. At the second meeting, Nokia council

would not divulge any further details, but they did agree to a constructive termination agreement

and they scheduled a meeting for myself with another lawyer from HR to discuss a dollar

amount.




-21 July

107    The HR lawyer that I subsequently met with was from a 3rd party HR subcontracting firm

and had no background knowledge of my matter and asked'\rhat are your human resources

concerns?". I told the HR lawyer that I was told by my sister Patricia Williams, who is a

corporate lawyer, that the norm for executive constructive termination agreements is between

1-3X of annual salary, depending on the severity of the underlying circumstances, of which mine

seemed to be    severe. However, in cases of harassment,   if the underlying reason for the

harassment violated federal laws, then federal whistleblower laws could apply.




108    At this time I stillthought (inconectly) that the reason my project was squashed was

related to RootMetrics and Verizon's advertising claim. Based on my (weeks old) understanding

of the various federal whistleblower laws, I told the HR lawyer that if my Verizon theory was
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 53 of 66 PageID #:88

   ALJ CASE #: 2019CFP00001                               OSHA lD:5-0460-18-125


correct, my case could be an SEC violation for'\rithholding information that a reasonable

investor would want to knoW' and I described several case files on the SEC website that had

totalfines >40X.



-23 July

109    Following this meeting, I met again with the Nokia compliance council and was told that

they where proceeding with the termination agreement but had to first get it approved by

another individual. Then ! was told -"but there is simply no way we can do 40X", and then the

meeting was quickly ended without myself getting to respond. lt seemed to me afterwards that

the HR lawyer had simply written down the largest number she had heard in the meeting and

passed that on.




110   Following this meeting, Nokia council ceased responding to me. After severalweeks,       I



contacted several external law firms regarding my harassment case. I learned from these firms

that my RootMetrics theory would be a Federal Trade Commission violation and that the federal

whistleblower law for FTC violations has been stuck in Congress for the last five years (passed

Senate 112018), therefore I would not be able to get contingency based legal representation

and there would not be any strong threat of litigation to the company. Unfortunately, the firms    I



spoke with were specialized    in QuiTam   and SEC cases and did not alert me that I could

pursue the matter under OSHA/SO)UDF. As a result, I did not become aware of my potential

OSHA legal remedies (ie this complaint) until early October.




111    I   was also advised (correctly) that a five year long harassment and collusion case over a

false advertising scheme does not sound plausible. My remaining legal option at this point
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 54 of 66 PageID #:89


   ALJ CASE #: 2019CFP00001                                 OSHA lD:5-0460-18-125


seemed to be a workplace harassment suit filed locally in Naperville under lllinois law, but       I



would have to pay hourly legal costs up front.



112 Approximately five weeks after Nokia        council stopped responding to me, I raised this

concern with my disability advocate nurse, Christy G., and she passed this information up her

management chain which (l think) caused Nokia councilto set up another meeting on August

23rd.




Aug 23rd:



113     At this meeting, they told me that they were closing my ethics complaint because they did

not find collusion between Vzn and Nokia over the RootMetrics advertising        claim. They

seemed focused exclusively on these details, as I had described them in the first meeting with

Nokia council in   May.   I   was told that they could not do any kind of termination agreement but

that I could have a RIF package if lwanted it, to which I responded "yes".



114 However, from this meeting, I was left quite convinced        that my RootMetrics theory was

inconect. Nokia council emphatically repeated the statement       - "it is not collusion   with Verizon

over Rootmetrics" four times during this meeting; an action which I felt might have had a

meaning. This led me to review my notes and initiate more discussions with others. After one

or two more days of   this additional discovery, I uncovered information about     a semi secret

measurement tool made through the industry standards trade group Telecommunications

lndustries Association, which has 270 member companies. I learned that the TIA tool also

used passive techniques, similar to the Shannon and BL designs, and how it was developed
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 55 of 66 PageID #:90

      ALJ CASE #: 2019CFP00001                                OSHA lD:5-0460-18-125


under non disclosure agreements and ! was also told by a colleague -'\,ve're not supposed to

talk about it".




115        I had also seen the Ars Technica story about the OK co-op lawsuit (about a week earlier)

that detailed the 477 challenge lawsuits, and learned of the relation to the Universal Service

Fund and the MF-ll program. The links in this story lead to a 2018 congressional testimony of a

council for the trade group Rural Wireless Association in which the so called Mobility Fund ll

477 mapping system is described. lt appears that the four large telcos each use the TIA toolto

measure their networks, and then (separately, using undocumented procedures) turn this data

into 477 maps which are submitted to the govemment and used by the FCC to determine where

USF subsidies would be best deployed (supposedly). I Exhibit J          ]   has further analysis.




116 This led me to the epiphany that the (billions of dollars per year) USF MF-ll federal tax

subsidy program was the source of the 5 years of harassment; and that does sound plausible.



117        I had been aware of my career decline for many years but did not understand the cause

of   it.   When I leamed in June that the events that started in 2013 were all connected, it felt as if

a ten pound weight had been lifted off my head, that I hadn't known was          there. However, since

June I had still thought that the matter was an advertising scheme. Now I had just learned that

it was not an advertising scheme, but rather it was related to billions of dollars in subsidies and

that there are likely many people who are illicitly benefiting from these subsidies, and that I can

prove it. The thought occuned to me that if I were to suddenly die, a lot of problems that a lot of

people are going to have would not       occur. As noted above, at this time I was still unaware of

my potential OSHA legal remedies, therefore I decided that the best course of action was to
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 56 of 66 PageID #:91


     ALJ CASE #:. 2019CFP00001                             OSHA !D:5-0460-18-125


establish a witness list of people intemalto the company and begin emailing the evidence I had

and was continuing to develop.




Aug 27th

1   18   Over the week starting Monday Aug 27th, I began sending out daily updates of my new

discovery to   the witness list. This information was completely unknown to everyone on the

witness list, all of whom each have decades of telecom experience. There is no one that        I



know from Nokia that was aware that the distribution of the USF subsidy was being affected

with a tool secretly made by the TIA; the mere existence of the TIA toolwas only known to one

colleague and it was a single sentence of information about this tool that allowed me to

understand this matter further.




119 Also during    this week, my daily entireties to Nokia council for a further meeting (to

continue discussing the constructive termination agreement I had asked for at the first meeting

in June) went ignored each day until Friday moming, Aug         31st, at approx 6:50am, when   I



recalled the April Fools Day communication from LGS in 2016 and sent a screenshot of it to the

witness list, wondering aloud in the email if it was related?
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 57 of 66 PageID #:92

   ALJ CASE #: 2019CFP00001                                 OSHA lD:5-0460-18-125




Aug 31st - Friday - threatened by coroorate officers for engaging in a SOX orotected activity



120   I believe the LGS April Fools   Day email provoked a panicked response which resulted in

my getting a callfrom Christy several hours    later.   She seemed to me in an urgent manner and

mood, and she conveyed to me the statement -"they said tell him to stop sending emails to

everyone".    Christy, who has been a great help but not exactly easy to get a hold of quickly on

administrative matters, started the callwith an unrelated administrative question, which l'm

assuming was coached. She then changed subjects           and relayed to me that she had just been

in a meeting (which l'm assuming accounted for her urgent manner) and also conveyed to me

the message that they said I was endangering my disability benefits by continuing to send out

emails about an ethics complaint that had been closed.



121   Several minutes after Christy's call, I realized that this was a wet noodle threat and that

there was likely someone at LGS involved. After several more hours of talking with colleagues,

Chris Miranda's name was mentioned as someone who could have affected the April Fools Day

joke as well as likely being involved inthe 477 mapping system of the MF-ll program due to his

position as a vice president at   LGS. Chris also would have been in a position to direct the

consistent theme of the harassment (public ostracization as a warning to others) that I have

received over the last eight years.




122   I also have reason to believe that when Christy called me on August 31st that there were

other people listening to the call and coaching her questions to   me.   This call lasted

approximately 10 minutes and Christy made some unusual comments and questions during the
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 58 of 66 PageID #:93


   ALJ CASE #: 2019CFP00001                                    OSHA lD:5-0460-18-125


call.   ln particular, I was describing the details of my legal situation to her and I said that I might

have to pursue the matter as a class action, to which Christy responded -"and have you

contacted any class action      firms?".    lf Christy was coached during this call, it will be easy to

prove from electronic      logs.   One technique I have seen used is to lM the speaker comments

during the     call.   I recall that Christy and I spoke again a couple hours later and she seemed

slightly uncomfortable. I remember she gave me the name Holly Anderson as the HR contact

that she had spoken with before my meeting.



123     Later this same day, at approximately 4:00 pm, Tim Mclain, one of the Nokia councils,

emailed me saying that he and Sonya (the other Nokia council) were both taking vacation the

following week, but that they would set up a meeting with me for the week after that.



124     I   was at first relieved, but as I thought about this message some more, it occuned to me

that this was an extremely odd action to take by Nokia        council.   ! had just learned 1 week

earlier that the five years of harassment was not a false advertising scheme, but rather it

concerned billions of dollars in tax subsidies and many people could potentially lose many illicit

gains. Then five hours earlier at 1 1:00am, ! discovered that LGS was involved and that I knew

the main perpetrator and that he lived near me.



125     This caused me alarm; after as much trouble as the perpetrators of this scheme had

gone to keep me from understanding what had happened to me, it did not seem logicalthat five

hours after lfigure out the name of possibly the main perpetrator, that I'm told to sit tight and

wait for a week, and they didn't even schedule a follow up meeting. Consequently I continued

to email out daily discovery and analysis. I would also like to note that if Nokia councilwas
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 59 of 66 PageID #:94

   ALJ CASE #: 2019CFP00001                                     OSHA lD:5-0460-18-125


really intending to schedule a meeting after       a7   day wait, they could have sent a second

message to me during the following 5 day period.




5 Sept

126      I   was continuing to discuss this matter with colleagues and developing further discovery

through Weds of the following week when my corporate laptop was disabled and my badge

access canceled. This occuned while I was in the building complex at Naperville. I had gone in

to work to discuss this matter with several people, proposing the possibility that ! return to work

into the Wireless division in a capacity related to the Shannon project. lt was on this day that   I



first discussed possible FCC spectrum auction gaming and the name Pioneer Telecom was

mentioned to       me. When I left the building,   my badge beeped as normal, but a door alarm went

off when I exited. When I got home, my laptop would no longer allow me to log in.




126a Pareto lists of monthly payments to the top cacm and acam entities. Pioneer telecom of

OK is the second highest subsidized acam entity and began receiving approximately $t M more

per month in total USF subsidies after Ajit Pai tumed on the acam sub program.
        Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 60 of 66 PageID #:95


           ALJ CASE #: 2019CFP00001                                                           OSHA lD: 5-0460-18-125


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        127   I believe that Nokia council knew that they had violated SOX 806 by having Christy deliver

        the message that I was "endangering my disability benefits by continuing to send out email

        about an ethics complaint that is closed". Afterwards I received an email and also a paper

        letter stating that my disability benefits were not in jeopardy after the above                                               threat. Additionally,

        Christy called the nurse practitioner that I have seen during my disability and told her that my

        benefits were safe, however also said to her "they said he's making the whole thing up".




        128   Following these events, my goal was to write and submit a new ethics complaint.

        Without corporate network access I could not find the link to the external ethics complaint site.

        Fortunately I was able to send an email to Tracy Couture, one of the Naperville HR
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 61 of 66 PageID #:96

    ALJ CASE #: 2019CFP00001                                                      OSHA lD:5-0460-18-125


Ombudsmen, and she supplied me the                      link.     I submitted an earlier version of this document as

a new ethics complaint approximately two weeks later [Exhibit                            l].   This internal complaint

makes the demand that the company self report to the relevant govemment agencies, FCC,

DOJ, FTC, CFPB, SEC,                etc... I received the reply below on 3 Oct:


  Ethics Complaint by Ken DelSignore against Nokia and Lucent                                                              x6a
  Government Services t,bq x

  Alasia, Joe (tlokla - US/Napervillc) <ioe.alesia@nokia.com>                              (P   Oct 3,2018, 1l:51   AM *       :
  to me, Tracy     -
  Hello Ken    -
  By way of introduclion, I am a Senior lnvestigations Counsel on Nokia's Business lntegrity Group. I was assigned to conduct an
  invesfgation of the concems you raised in September (see your attached complaint). I am writing to inform you lhat we have concluded
  our investigation. The evidence does nol substantiate the concems you raised.


  lf you have any questions or corcems, please feel fre€ to coniact me at any time.


  Regards, Joe


  Joe Alesia
  Senior Counsel
  Business lntegrity Group, Nokia
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 62 of 66 PageID #:97


   ALJ CASE #: 2019CFP00001                                                                             OSHA lD:5-0460-18-125



      Ken Oel Slgnol€.kendelsignorefagmarl com>                                                                                 @     Mon.Oct1.2018      12!6Ph/         *      lh
      to tracy coutre '

      Hello Tracy,
          lm   wriing with an update to my situation. l'm nol sure what   ds   to do. I belleve I hare uncorered significanl   ilti   trust violations in the telecom   indEtry.     The
      Nokia lawyers are complicit in the trheme and haw aclively tried (unsuccesful) to prerent me fiom learning lhe deiails, including threatening to cut off my
      disability benelits "if I kept sending email to people about an elhics complainl that is closed."


          tve submitted my ethics complainr to multiple lederal regulatory agencies including oSHA for the benefits dlrear. lt appears to me OEt Nokia, LGS, and olher
      telecom companies could be facing signilicilt      illi   uust tines stemming rrom lhis complainl.


      For myself, I see thrtr options,
       go back to NoKIA       s
                              a help desk technicim md await next RIF
          sue NOKIA and LGS for harassment and los ol mreer
          go back to Nokia and build the Shannon app


      |   lwuld prefer lhe third option and I have staled as much to the Nokia lawyers.

      I don't knil ,f there are my remaining ways you can help as the ombudmil, but l'm othwse out of optrons. I do not think returning under the condixons that                           I

      left would be ftuitful, m it looks to me righr now like I am being lorced inlo the seced option
      thanks



      PS ironi€ally, while on di$bilrty I took the ethics course online. I could snotate      a counter example to   almst     every item   di$used    in that   presniation.




129   By this time I had learned of the potential OSHA / SOX /                                                     DF remedy available to me,

therefore following this message, I determined to file an OSHA complaint and proceed with a

SOX harassment                  action.         I requested of my manager, the new council Joe, and also Tracy if

my laptop could be turned on so that I could fully document my complaint, also telling them that

I considered my activity to be a protected activity under                                              SOX.          My request was denied by Joe,

as a result all dates are approximate. Additionally I sent my initial ethics complaint to multiple

federal agencies'tip lines as an email.
 Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 63 of 66 PageID #:98

   ALJ CASE #: 2O19CFP00001                                                     OSHA lD: 5-0460-18-125




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130 Around    the third week of Oct, with                      -   two weeks left on my short term disability benefits,

Christy notified me she had scheduled two 8 hour mental health examinations in downtown

Chicago on two weekdays in early November (with a company called                                         "lMX') and that I had to

attend and pass this testing in order to return to                      work.   She also told me "don't worry, you will

be able to take breaks"




131   I had previously indicated to Nokia council in my second ethics complaint that if they did

not remediate the underlying issues with the Shannon project, including self reporting to the

government, that I would initiate a federal action. I therefore took this recent IMX testing

requirement to be an attempt to dissuade me from returning to work from short term disability.

Additionally, it does not seem plausible that Nokia council was hoping I would pass this testing

so that I could return to work as a service desk technician (who is not allowed to advance in

career).   Furthermore, I felt this testing would give Nokia 16 hours of material to use against

me in any subsequent federal legal actions, therefore it was my belief that they would have told

me I failed the testing regardless of my performance on the tests.
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 64 of 66 PageID #:99


     ALJ CASE #: 2019CFP00001                                 OSHA lD:5-0460-18-125




132:   Counts:




1 The harassment between 2010 and April Fools Day 2016 was primarily due to my persistent
research interest in optimizing the 3G handoff parameters as described.

2   The motivation for the 2014 harassment at the bicycle meeting was to protect the fraud in the

USF program from being uncovered by stopping my independant work on 3rd party

measurement systems.

3   On Sept 24lh 2015,1 was demoted as a result of counts 1 and 2.

4   On Sept 25th 2015, after I declined the demotion, my email was deleted in an attempt to

cover up activities associated with counts 1 and 2.

5   The Shannon project was cancelled in Jan 2018 or the reason given in count 2.

6 The IMX mental       health testing requirement to retum to work was meant to dissuade me from

retuming to my service desk technician job because I would have been able to continue making

discovery on this matter with many long term colleagues.




133: Requested Relief




     1.   One million hexadecimal       dollars; A hexadecimal dollar has a symbolic meaning in

          computer science as a reward for finding a flaw in a colleague's work, and is equal to

          two dollars and fifty six   cents. The requested value is calculated   as 2X damages times
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 65 of 66 PageID #:100

   ALJ CASE #: 2019CFP00001                                   OSHA lD:5-0460-18-125


          5 years of harassment + 50% front pay times 20 years planned future workspan, using

          1   28K annual total approximate compensation.

                -   ln this matter, the defendants have used technology against the public interest

                    and have suppressed the advancement of a subfield of computer science for

                    what appears to be monetary reasons. This is a most egregious act by

                    standards typical of human scientific endeavour, although not so much by human

                    corporate standards. Units of hexadecimal dollars are thus requested for the

                    symbolic value that this would associate to this matter.




134: Exhibits



link to this document:

https://drive.google.com/open?id=l cMnA6hVafrSTlT54ABoKOcozt9MJmXu9eglv3M-SV7o



Exhibit   A:    https://drive.google.comiopen?id='l0kGNYhHi3mU-zBBTmzSOE4FT4ZXGXKWM




Exhibit   B: https://drive.google.com/open?id=1O9c4vYagffY1-srymqdlzNkPO17zbMk0
Case: 1:20-cv-04019 Document #: 1-1 Filed: 07/09/20 Page 66 of 66 PageID #:101


    ALJ CASE #: 2019CFP00001                                        OSHA lD: 5-0460-18-125


Exhibit    C: https://drive.google.com/ooen?id=lZubTSlDnF2hl2XF3ScW-AKltgNrnhQY-



Exhibit    D: https://drive.google.com/open?id=l XOXMdEfAyyV-NnAyl             TkbHWOJs9caUtUK




Exhibit    E: https://drive.google.com/open?id=lfeCzMFqCGusTwMSXWQKsHTJGsTjBaP-x



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Exhibit H: Shannon design:

https://drive.google.com/open?id=        1   XaQ QPBaNrCMo3XAT5lY6DTweeN3ib00



Exhibit    l: Sept 2018 ethics     complaint:

https://drive.google.com/open?id=1uMk9RbSe83izK04NSgcyQ-saGzgmTCUiulnoM03OREl

Exhibit    J:   media analysis of FCC legal challenge

https://drive.google.com/ooen?id=I9uLDVTBASFs16TPVAZ-aztRKPiCCyQgAolGL_P7-210

Exhibit    K: analysis of 270M8 USF monthly payment data file:

https://drive.google.com/open?id=1o-MfXkcYmFpolQpWTXrDEYjxGbEEeeecDq6.jMhKzU
